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Debtor 1 Eric Paul Seltzer

Debtor 2 Roxanne Denise Seltzer
(Spouse, if filing)

United States Bankruptcy Court for the : Middle District of Pennsylvania
(State)

Case number 5:20-bk-01096-MJC

Official Form 410S1
Notice of Mortgage Payment Change 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: M & T Bank Court claim no. (if known): 8

Last four digits of any number you XXXXXX7588 Date of payment change:

use to identify the debtors’ account: Must be at least 21 days after date of 12/1/2021
this notice

New total payment:
Principal, interest, and escrow, if any 459.74

tn Escrow Account Payment Adjustment

1. Will there be a change in the debtors’ escrow account payment?

O No
Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why:

Current escrow payment: $ 165.55 New escrow payment: $159.45

Coo Mortgage Payment Adjustment

2. Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
variable-rate account?

No

O Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
explain why:
Current interest rate: % New interest rate: %
Current principal and interest payment: $ New principal and interest payment: $

er Other Payment Change

3. Will there be a change in the debtors’ mortgage payment for a reason not listed above?

No
O Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change:

Current mortgage payment: $ New mortgage payment: $

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ain Document — Page 1 of 7
Debtor 1 Eric Paul Seltzer

Case number (if known) 5:20-bk-01096-MJC

FirstName Middle Name Last Name

telephone number.
Check the appropriate box.

Ol am the creditor.

| am the creditor’s authorized agent

knowledge, information, and reasonable belief.

X _/s/Toni_ Townsend

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and

| declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my

Date 11/02/2021

Contact phone (312) 346-9088 X5174

Signature

Print: Toni Townsend Title Authorized Agent for Creditor
First Name Middle Name Last Name

Company McCalla Raymer Leibert Pierce, LLC

Address 1544 Old Alabama Road
Number Street
Roswell GA 30076
City State ZIP Code

Email —_Toni.Townsend@mccalla.com

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Bankruptcy Case No.: 5:20-bk-01096-MJC
In Re: Chapter: 13
Eric Paul Seltzer Judge: Mark J Conway
Roxanne Denise Seltzer

CERTIFICATE OF SERVICE

I, Toni Townsend, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
GA 30076, certify:

That I am, and at all times hereinafter mentioned, was more than 18 years of age;

That on the date below, I caused to be served a copy of the within NOTICE OF MORTGAGE
PAYMENT CHANGE filed in this bankruptcy matter on the following parties at the addresses shown, by
regular United States Mail, with proper postage affixed, unless another manner of service is expressly
indicated:

Eric Paul Seltzer
317S Line St
Frackville, PA 17931-2307

Roxanne Denise Seltzer
317S Line St
Frackville, PA 17931-2307

Jason Paul Provinzano (served via ECF Notification)
Law Offices of Jason P. Provinzano, LLC

16 W. Northampton Street

Wilkes Barre, PA 18701

Jack N Zaharopoulos (Trustee) (served via ECF Notification)
8125 Adams Drive, Suite A
Hummelstown, PA 17036

Asst. U.S. Trustee (served via ECF Notification)
United States Trustee

228 Walnut Street, Suite 1190

Harrisburg, PA 17101

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on: 11/03/2021 By: /s/Toni_ Townsend
(date) Toni Townsend
Authorized Agent for Creditor

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M&iT Bank 2.238 ANNUAL ESCROW ACCOUNT

Buffalo, NY 14240-1288 DISCLOSURE STATEMENT

% Customer Service: 1-800-411-7627
‘ Property Tax: 1-866-406-0949
Property Insurance: 1-888-882-1847

ERIC P SELTZER Home Purchase or Refinancing: 1-800-479-1992
317 S LINE ST NMLS #381076
FRACKVILLE PA 17931-2307

Correspondence Address:

PO BOX 1288
BUFFALO, NY 14240-1288

https://onlinebanking.mtb.com

Loan Number:

Property Address: 317 S LINE STREET
FRACKVILLE PA, 17931

Statement Date: 10/14/21

Dear Customer,

As your mortgage partner, we strive to exceed your servicing expectations. We are providing you with the following review
which details your escrow account activity. Please refer to our Frequently Asked Questions enclosure, or call one of the
appropriate customer service numbers referenced above with any questions or concerns.

Based on our review, you have too much money in your escrow account and we have attached a check at the
bottom.

This surplus was caused by changes in your taxes, insurance or escrow payments. Your Account History, page 2, shows
what has already happened on your account. To see what we anticipate happening with your account over the next 12
months, turn to Projected Escrow Payments, page 3.

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Payment Information Current Monthly Payment New Monthly Payment
As a result of this for 12/01/2021
review, we have Principal & Interest: $300.29 $300.29
determined ent Escrow Payment: $159.38 $159.45
payment amoun
will change. Total Payment: $459.67 $459.74

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By comparing the actual escrow activity with the previous projections listed, you can determine where a difference may have occurred.
If you have any questions about this statement, please call our Customer Service Department toll free at 1-800-411-7627.

Beginning Bal $796.83 $722.74
Dec 20 $159.38 $165.55 * $956.21 $888.29
Jan 21 $159.38 $165.55 * $1,115.59 $1,053.84
Feb 21 $159.38 $165.55 * $1,274.97 $1,219.39
Mar 21 $159.38 $165.55 * $1,434.35 $1,384.94
Apr 21 $159.38 $165.55 * County Tax $343.86 $343.86 $1,249.87 $1,206.63
May 21 $159.38 $331.10 * $1,409.25 $1,537.73
Jun 21 $159.38 * $1,568.63 $1,537.73
Jul 21 $159.38 $165.55 * $1,728.01 $1,703.28
Aug 21 $159.38 $239.64 * School Tax $691.63 $687.45 * $1,195.76 $1,255.47
Aug 21 Hazard Ins $877.00 * $318.76 $1,255.47
Aug 21 Hazard Ins $882.00 * $318.76 $373.47
Sep 21 $159.38 $159.38 $478.14 $532.85
Oct 21 $159.38 $159.38 $637.52 $692.23
Nov 21 $159.38 $159.38 $796.90 $851.61

The total amount of escrow payments received during this period was $2,042.18 and the total escrow disbursements were $1,913.31.

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount of the deposit/disbursement.
** This section may also reflect anticipated escrow activity that has not yet occurred prior to the effective date of this analysis.

M&T Bank is attempting to collect a debt and any information obtained will be used for that purpose. To the extent your original obligation was
discharged, or is subject to an automatic stay of bankruptcy under Title 11 of the United States Code, this statement is for compliance and/or
informational purposes only and does not constitute an attempt to collect a debt or to impose personal liability for such obligation. However, M&T Bank
retains rights under its security instrument, including the right to foreclose its lien.

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Anticipated Annual Disbursements Projected Escrow Balance Summary
County Tax: $343.86 M&T Bank expects to pay $1,913.31 over the next 12 months.
Taxes: $687.45 Here's how to calculate your new monthly escrow payment:
Hazard Ins: $882.00 Total T a $1,913.31
‘otal Taxes and Insurance: 1913.
Total: $1,913.31 Divided by 12 months: $159.45
New Monthly Escrow Payment: $159.45

The cushion allowed by federal law (RESPA) is two
times your monthly escrow payment (excluding MIP/PMI),
unless state law specifies a lower amount.

Projections for the coming year: The following summary shows anticipated activity in your escrow
account for the next twelve months, which was used to calculate your payment above.

Monthly Amount Projection Projection
Month Escrow Scheduled Description Based On Based On
Payment to be Paid Current Balance Required Balance

Beginning Balance $851.61 $797.16
Dec 21 $159.45 $1,011.06 $956.61
Jan 22 $159.45 $1,170.51 $1,116.06
Feb 22 $159.45 $1,329.96 $1,275.51
Mar 22 $159.45 $1,489.41 $1,434.96
Apr 22 $159.45 $343.86 County Tax $1,305.00 $1,250.55
May 22 $159.45 $1,464.45 $1,410.00
Jun 22 $159.45 $1,623.90 $1,569.45
Jul 22 $159.45 $1,783.35 $1,728.90
Aug 22 $159.45 $687.45 School Tax $1,255.35 $1,200.90
Aug 22 $882.00 Hazard Ins $373.35 $318.90
Sep 22 $159.45 $532.80 $478.35
Oct 22 $159.45 $692.25 $637.80
Nov 22 $159.45 $851.70 $797.25

Escrow Requirements, New Mortgage Payment and Anticipated Annual Disbursements

Projected Beginning Balance $851.61
-Required Minimum Balance $797.16
Surplus Amount $54.45

Your lowest monthly escrow balance for the next 12 months should reach $318.90, which equals a total of two months escrow payment. To reach
this balance, your required escrow amount after your 11/21 payment should be $797.16, whereas your actual escrow balance is $851.61.
The difference, $54.45, represents additional money in your escrow account.

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M&PBank

¢ Why am | receiving this escrow analysis statement?

Mortgage lenders are required by regulations to perform
an annual review of your account and provide a hard copy
statement for your records.

What is an escrow account?

An escrow account is an account created for the borrower
that is used to pay any property taxes, homeowner's
insurance and/or flood insurance (if applicable). As each
mortgage payment is made, a dedicated portion is added
to the escrow account to pay taxes and/or insurance.

What is an escrow payment?

The portion of your monthly payment that is held and used
to pay your escrowed items as they become due.

How is my escrow payment determined?

The calculation used to determine the escrow portion of
your payment is:
12 months of escrow payments
+ Reserve*
+12
= Escrow payment

We gather the anticipated payments that are to be paid

in the next 12-month time frame from when the escrow
analysis was performed. These payments may either be
known, based on the prior year’s payments, or based on
payments of similar residential properties. We forecast
any anticipated increase or decrease and account for any
existing escrow account balance. We collect 1/12th of this
amount monthly.

* An escrow reserve, also known as a cushion, is the amount of money collected
to cover any unanticipated increases in your real estate tax or insurance premium
payment. It acts as a buffer and helps to prevent your escrow account from being
overdrawn. An escrow reserve exists on your account unless your mortgage
documents or state law applies and is generally a two-month cushion.

Will my escrow payment amount remain the same if I
remit the entire shortage amount at once?

Paying the full shortage amount will adjust your account
resulting in the smallest possible increase in your monthly
mortgage payment amount. It’s important to keep in mind
that any increase in your real estate tax amounts and/or
insurance premium(s) may cause your payment amount
to change even if you pay your shortage amount.

Am | required to pay the escrow shortage amount in full?

No, you are not required to pay the escrow shortage in full.
If you choose not to remit a payment in full, the escrow

shortage will be equally spread over 12 months of payments.

If | want to remit the full escrow shortage amount,
what do | need to do?

You are not required to remit the full escrow shortage

amount; however, if you choose to do so, you have

two options:

— Online: Log in to M&T Online or Mobile Banking, select
your mortgage account and click the “Pay Now” button.
Your mortgage loan must be current to use this option.

We appreciate your business.

— By Mail: Send a check made payable to M&T Bank and
indicate on the memo line that you are making an escrow
shortage payment. Please mail the check to: M&T Bank,
Escrow Department, P.O. Box 64787, Baltimore, MD
21264-4787. If you are paying your escrow shortage,
the funds will be applied immediately, however your
mortgage statement may not reflect changes until the
analysis effective date.

¢ Why did my monthly escrow payment amount change?

Your payment may have increased for several reasons.
Some of the most common reasons are:

« Increases in your property taxes and/or insurance
premiums

¢ Increases in your property's tax assessment
¢ Changes in your insurance carrier

¢ Changes in your Tax due date

¢ Fewer deposits to escrow than expected

TIP: Municipalities offer a few common tax exemptions
for disability, homestead, senior and veteran status.
Check with your local tax office to see if you are eligible
for these, or any other exemptions.

Why didn’t my payment go down when my taxes or
insurance did?

The tax and/or insurance figures used for your analysis
calculation are based on last amount(s) paid, or, where
applicable, from your prior servicer or from your closing
documents. If you have received more recently updated
information from your tax assessor, please forward it to
eta@mtb.com.

Information regarding insurance

Hazard insurance, also referred to as homeowner's
insurance, is an insurance policy purchased to protect your
property from certain hazards such as fire and theft. Policy
coverage may vary. See your insurance policy information
for details regarding your specific coverage(s).

If you decide to change your insurance carrier, please send
the new policy information to: M&T Bank, It’s Successors
and/or Assigns, P.O. Box 5738, Springfield, OH 45501-5738.
Or submit online at mycoverageinfo/mtb.com.

Do I need to send my tax and insurance bills each time
they're due?

M&T receives the tax information directly from your
municipality. Unless requested, you do not need to send
them in. Tax bills are typically paid two to three weeks
prior to the due date. If you want a supplemental, interim,
or added assessment tax bill paid by us, you will need to
forward it to eta@mtb.com.

M&T receives insurance information directly from your
carrier. However, if you change insurance carriers, please
go to mycoverageinfo/mtb.com to update your insurance
information.

If you have additional questions, please
call us at 1-800-411-7627 Monday-Friday,
8:30am-9pm ET and we'll be happy to help.

Thank you for giving us the opportunity to serve your financial needs.

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